Case 2:23-cv-08583-JWH-RAO Document 16 Filed 10/18/23 Page 1 of 17 Page ID #:113
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                               UNITED STATES DISTRICT COURT
    10
                             CENTRAL DISTRICT OF CALIFORNIA
    11
    12 INMODE LTD.,                              Case No.
                                                 2:23−cv−08583−JWH−RAO
    13                   Plaintiff(s),
    14        v.                                 STANDING ORDER
    15 BTL INDUSTRIES, INC.,
    16               Defendant(s).

    17
    18
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    20
    21   PLEASE READ THIS ORDER CAREFULLY. IT CONTROLS THIS CASE

    22       AND DIFFERS IN SOME RESPECTS FROM THE LOCAL RULES.

    23
    24   •     If this case was removed to this Court, then the removing Defendant is

    25        DIRECTED forthwith to serve this Order on all other parties.

    26   •     Otherwise, Plaintiff is DIRECTED forthwith to serve this Order on all

    27        parties.

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Case 2:23-cv-08583-JWH-RAO Document 16 Filed 10/18/23 Page 2 of 17 Page ID #:114
    1         This action has been assigned to the calendar of Judge John W. Holcomb.

    2         The Court and the litigants bear joint responsibility for the progress of

    3    litigation in the Federal Courts. To secure the just, speedy, and inexpensive

    4    determination of every action, see Fed. R. Civ. P. 1, all counsel are hereby

    5    ORDERED to become familiar with the Federal Rules of Civil Procedure and the

    6    Local Rules of the Central District of California.

    7         The Court further ORDERS as follows:

    8         1. Service of the Complaint. Plaintiff shall serve the Complaint

    9    promptly in accordance with Rule 4 of the Federal Rules of Civil Procedure and

    10   shall file the proofs of service pursuant to L.R. 5-3.1.

    11        2. Removed Actions. Any answers filed in state court must be re-filed in

    12   this Court, either as an exhibit to the Notice of Removal or as a separate filing.

    13   Any pending motions must be re-noticed in accordance with L.R. 6-1.

    14        3. Disclosure Statement. Counsel are DIRECTED to review

    15   thoroughly Rule 7.1 and to comply strictly with its instruction to file a compliant

    16   Disclosure Statement. A party’s failure to file a timely and complete Disclosure

    17   Statement in accordance with Rule 7.1 is a basis for sanctions.

    18        4. Assignment to a Magistrate Judge. Under 28 U.S.C. § 636, the parties

    19   may consent to have a Magistrate Judge preside over all proceedings. The

    20   Magistrate Judges who accept those designations are identified on the Central

    21   District’s website, which also contains the consent form.

    22        5. Electronic Filing and Formatting. This Court uses an electronic filing

    23   system for documents. Information regarding the Court’s Electronic Case Filing

    24   system is available on the Court’s website at https://www.cacd.uscourts.gov/e-filing

    25   /nextgen-cmecf.

    26        All documents required to be e-filed in this matter can be found in General

    27   Order No. 10-07 (as updated and amended) and L.R. 5-4. The Court specifically

    28   directs litigants to L.R. 5-4.3.1, requiring that all electronically filed documents


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Case 2:23-cv-08583-JWH-RAO Document 16 Filed 10/18/23 Page 3 of 17 Page ID #:115
    1    be created by publishing the document to PDF, and not by scanning paper

    2    documents. The Court also specifically directs litigants to L.R. 11-3.1.1, requiring

    3    that all documents use a font size of 14-point or larger.

    4         6. Mandatory Chambers Copies. All original filings are to be filed

    5    electronically pursuant to L.R. 5-4. The Court requires one (1) Mandatory

    6    Chambers Copy of ONLY the following filed documents: motions and related

    7    documents (e.g., oppositions, replies, exhibits); and ex parte applications and

    8    related documents (e.g., oppositions and exhibits). Mandatory Chambers Copies

    9    shall be delivered to the Courtesy Box, located outside of Courtroom 9D on the

    10   ninth floor of the United States District Court, 411 W. 4th Street, Santa Ana,

    11   California 92701, no later than 5:00 p.m. on the first court day following the

    12   e-filing. Alternatively, Counsel may transmit such conformed copies via FedEx,

    13   UPS, or other overnight service, for delivery no later than 5:00 p.m. on the first

    14   court day following the e-filing, addressed to the Chambers of Judge John W.

    15   Holcomb, U.S. District Court for the Central District of California, Room 9-160,

    16   411 W. 4th Street, Santa Ana, CA 92701. All Mandatory Chambers Copies shall

    17   comply with the document formatting requirements of L.R. 11-3, except for the

    18   blue-backing requirement of L.R. 11-4.1, which is hereby waived. If the filing

    19   party and its counsel fail to deliver a Mandatory Chambers Copy in full compliance

    20   with this Order and L.R. 11-3, then the Court may reschedule any related hearing

    21   and impose sanctions.

    22        7. Proposed Orders. Each party filing or opposing a motion or seeking

    23   the determination of any matter shall serve and electronically lodge a proposed

    24   order that sets forth the relief or action sought and a brief statement of the rationale

    25   for the decision with appropriate citations.

    26        8. Presence of Lead Counsel. Lead trial counsel for each party must

    27   attend every status conference, scheduling conference, and pretrial conference set

    28   by the Court. Failure of lead trial counsel to appear for those proceedings is a


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Case 2:23-cv-08583-JWH-RAO Document 16 Filed 10/18/23 Page 4 of 17 Page ID #:116
    1    basis for sanctions.

    2         9.   Pro Hac Vice Admissions. Counsel who are not members of the State

    3    Bar of California may seek admission to appear in this action pro hac vice, in

    4    accordance with L.R. 83-2.1.3. The Court will not approve a pro hac vice

    5    application unless the applicant complies strictly with all requirements set forth in

    6    the Local Rules, including the applicant’s obligation to designate local counsel who

    7    is a member of the bar of the Central District and who maintains an office within

    8    the Central District. See L.R. 83-2.1.3.4. Counsel who have been admitted pro hac

    9    vice are not relieved from the obligation to appear in person for hearings.

    10       10.   Discovery. All discovery matters have been referred to a United States

    11   Magistrate Judge. The Magistrate Judge’s initials follow the District Judge’s initials

    12   in the case number assigned to the matter. The words “DISCOVERY MATTER”

    13   shall appear in the caption of all documents relating to discovery to insure proper

    14   routing. Unless the assigned Magistrate Judge explicitly waives the Mandatory

    15   Chambers Copy rule, Counsel shall deliver Mandatory Chambers Copies of

    16   discovery-related papers to the assigned Magistrate Judge (rather than to this

    17   Court).

    18       11.   Motions-General Requirements.

    19             a.   Time for Hearing Motions. Motions shall be filed and set for

    20        hearing in person, in Courtroom 9D of the United States District Court for

    21        the Central District of California, located at 411 W. 4th Street, Santa Ana,

    22        California, in accordance with L.R. 6-1. Motions will be heard on Fridays

    23        commencing at 9:00 a.m. Any motion noticed for a holiday or a day that the

    24        Court is not in session may automatically be set to the next Friday without

    25        further notice to the parties.

    26             b.   Length and Format of Motions. Notwithstanding L.R. 11-6.1 &

    27        11-6.2, Memoranda of Points and Authorities in support of or in opposition to

    28        motions shall not exceed 25 pages. Replies (which are optional) shall not


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Case 2:23-cv-08583-JWH-RAO Document 16 Filed 10/18/23 Page 5 of 17 Page ID #:117
    1          exceed 12 pages. Only in rare instances, and for good cause shown, will the

    2          Court grant an application to extend these page limitations. Wherever possible,

    3          counsel shall cite to Westlaw rather than Lexis.

    4              c.    Page Numbering. Parties shall consecutively number the pages of

    5          all documents submitted to the court and shall affix the page number at the

    6          bottom of each page (except for the caption page). For example, if a

    7          memorandum of points and authorities exceeds 10 substantive pages, then it

    8          is required to contain a table of contents and a table of authorities. See L.R.

    9          11-8. If, hypothetically, the caption of this memorandum occupies only one

    10         page and the table of contents is two pages long and the table of

    11         authorities is four pages long, then the table of contents would start on page

    12         2 (not “i”); the table of authorities would start on page 4 (not “iii”); and the

    13         substantive brief would start on page 8 (not “1”). If the brief itself is 25

    14         pages long (in accordance with Paragraph 11(b) above), then it would end

    15         on page 32.

    16             d.    Voluminous Materials. If documentary evidence in support of or

    17         in opposition to a motion exceeds 50 pages, the evidence must be separately

    18         bound and tabbed and include an index. If such evidence exceeds 200 pages,

    19         the documents shall be placed in a three-ring binder, with an index and with

    20         each item of evidence separated by a tab divider.

    21             e.    Withdrawal of, or Non-Opposition to, Motions. In the event that the

    22         parties resolve a pending motion, they must notify the Court immediately.

    23         Sanctions may issue for failure to comply with this requirement, or the

    24         broader requirement set forth in L.R. 7-16 that any party who intends to

    25         withdraw a motion, not to oppose a motion, or to seek a continuance of

    26         the hearing date for a motion, must notify the Court by 12:00 noon on the

    27         Tuesday preceding the hearing date.

    28   \\\


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Case 2:23-cv-08583-JWH-RAO Document 16 Filed 10/18/23 Page 6 of 17 Page ID #:118
    1         12. Amended Pleadings. In addition to the requirements of L.R. 15, all

    2    motions to amend pleadings shall (a) state the effect of the amendment; and

    3    (b) identify the page(s), line number(s), and wording of any proposed change or

    4    addition of material.

    5         Parties amending their pleadings for whatever reason−including those

    6    previously dismissed with leave to amend−must file a redlined copy that

    7    compares their amended pleading with their previous pleading. An additional

    8    copy of the redlined pleading shall be provided to Chambers by email at

    9    JWH_Chambers@cacd.uscourts.gov on the same day that the amended pleading

    10   is filed electronically. Handwritten pleadings are the only exception. When

    11   handwritten pleadings are amended, the party shall identify which paragraphs

    12   have been modified in a separate statement. This paragraph applies equally to

    13   complaints, answers, counterclaims, cross-complaints, and supplemental

    14   pleadings. Absent a showing of good cause, a party’s failure to comply with

    15   this paragraph will result in the Court striking the party’s amended pleading.

    16        13. Class Actions. Notwithstanding L.R. 23-3, the deadline for the filing

    17   of a motion for class certification will be set during the Scheduling Conference

    18   or in a Scheduling Order. If the Court does not expressly set a separate deadline

    19   for the filing of a motion for class certification, then such deadline shall be the

    20   same as the deadline for filing dispositive motions. No request for relief from

    21   L.R. 23-3 is necessary.

    22        14. Motions for Summary Judgment or Partial Summary Judgment.

    23   This Court’s procedures for summary judgment motions differ from those set

    24   forth in Rule 56 and in this Court’s Local Rules. Please read this paragraph

    25                             carefully and comply with it.

    26   No party may file more than one motion pursuant to Rule 56, regardless of

    27   whether such motion is denominated as a motion for summary judgment or

    28   summary adjudication.


                                                 −6−
Case 2:23-cv-08583-JWH-RAO Document 16 Filed 10/18/23 Page 7 of 17 Page ID #:119
    1              a. The Joint Exhibit

    2          Parties must consolidate any exhibits, affidavits, declarations, or other

    3    documents cited as evidence into a single document (the “Joint Exhibit”).¹ If the

    4    file is too large to upload as a single document, then the parties may break it into

    5    two or more files; e.g., Joint Exhibit Part A, Joint Exhibit Part B, and so on.

    6    Whether in a single document or several, the Joint Exhibit should be consecutively

    7    paginated. For example, if the first document (Part A) starts at page 1 and ends at

    8    page 100, then the second document (Part B) should begin on page 101, and so on.

    9    A table of contents, if needed, should be submitted under separate cover.

    10         A recommended format the parties may adopt when citing to the Joint

    11   Exhibit is “Joint Exhibit Part C at 250:3-7 (Deposition of Passenger B),” where:

    12       • “Joint Exhibit Part C” indicates this evidence can be found in the third

    13         document (assuming here that the Joint Exhibit had to be broken up into

    14         multiple documents);²

    15       • “250” represents the page number of the Joint Exhibit where the evidence

    16         can be found;

    17       • “3-7” indicates that the evidence can be found on lines 3 through 7; and

    18       • the parenthetical “Deposition of Passenger B” is a concise, descriptive title

    19         of the underlying source document or evidence being cited.

    20         Parties offering evidence in support of, or in opposition to, a Rule 56 motion

    21   must cite to specific page and line numbers in depositions and paragraph numbers

    22   in declarations and affidavits. If a line number or paragraph number is not available

    23   (e.g., the citation is to a visual image or a handwritten note or some other document

    24   ____________________
         1     The Court excludes non-evidentiary documents on the docket from this
    25
         definition; e.g., the complaint, the answer, prior motions, and past orders.
    26
         2     If the documents and evidence of the Joint Exhibit can fit as one PDF, then
    27   there is no need for the suffix “Part A.” The parties would simply cite it as “Joint
         Exhibit at 250:3-7 (Deposition of Passenger B).”
    28


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Case 2:23-cv-08583-JWH-RAO Document 16 Filed 10/18/23 Page 8 of 17 Page ID #:120
    1    without identifiable lines or paragraph numbers), only then will providing the page

    2    number(s) suffice. Furthermore, such evidence must be authenticated properly.

    3    The Court directs the parties to become familiar with Orr v. Bank of America, NT

    4    & SA, 285 F.3d 764 (9th Cir. 2002).

    5             b.   The Joint Statement of Undisputed Facts and Genuine Disputes

    6         The moving party’s motion shall also be accompanied by a Joint Statement

    7    of Undisputed Facts and Genuine Disputes (the “Joint Statement”). The parties

    8    must cite to the factual statement set forth in the Joint Statement in their respective

    9    briefs for any fact they wish to identify as a material fact under Rule 56(a). In turn,

    10   the Joint Statement will cite only to the Joint Exhibit. Citations found in the briefs

    11   to any individual exhibits or the Joint Exhibit will be disregarded.3

    12        Prior to filing the motion, the parties shall meet and confer to complete the

    13   Joint Statement. Parties should allow sufficient time and plan accordingly in view

    14   of the deadline for hearing dispositive motions; the process of preparing the Joint

    15   Statement is intensive. Furthermore, the Court will order the parties to redo any

    16   Joint Statement that fails to comply substantially with the instructions in this

    17   Standing Order or that otherwise evinces a lack of thoroughness on behalf of the

    18   parties (e.g., too many frivolous objections; too many redundant factual

    19   statements; improper citations; etc.).

    20   The Joint Statement shall be presented in a table format. An illustrative example

    21   of the Joint Statement is set forth below:

    22
    23
    24
    25
    26   ________________________
         3   Parties are directed to consult the demonstratives in the Appendix of this
    27
         Standing Order for further explication.
    28


                                                  −8−
Case 2:23-cv-08583-JWH-RAO Document 16 Filed 10/18/23 Page 9 of 17 Page ID #:121
         No. Proponent       Statement of Fact       Supporting        Opponent’s Response                 Proponent’s Reply
    1                                                Evidence
         1.      Plaintiff   Plaintiff was driving Joint Exhibit Part Undisputed.
    2                        her car when she      A at 10, ¶ 2
                             went through the      (Pl.’s Decl.).
                             intersection.
    3
         2.      Plaintiff   The light was green Joint Exhibit Part Disputed. The Light was red
    4                        when Plaintiff went A at 10, ¶ 4 (Pl.’s when Plaintiff traveled
                             through the           Decl.).            through the intersection.
                             intersection.                            Joint Exhibit Part C at 253:3-
    5                                                                 11 (Def.’s Expert Report).
         3.      Plaintiff   Plaintiff was driving Joint Exhibit Part Disputed. Plaintiff was driving
                             at 35 miles per hour A at 10, ¶ 7 (Pl.’s 52 miles per hour when she
    6                        when she traveled     Decl.); Joint      went through the intersection.
                             through the           Exhibit Part B at Joint Exhibit Part C at 253:11-
    7                        intersection.         115, ¶ 14 (Report 254:2 (Def.’s Expert Report).
                                                   by Pl.’s Expert).
         4.      Defendant   Passenger A shouted Joint Exhibit Part Disputed. F.R.E. 802: This           F.R.E. 803(2): This
    8                        at Plaintiff to stop  C at 25:3-7 (Dep. statement is inadmissible           statement qualifies as a
                             looking at her phone of Passenger B). hearsay because it is a               hearsay exception
                             while she drove                          statement, made by an out-of-      because it was an
    9                        through the                              court declarant (Passenger A),     excited utterance that
                             intersection.                            being offered to support the       occurred moments
    10                                                                assertion that Plaintiff was       before the crash.
                                                                      looking at her phone while
                                                                      driving in the intersection.
    11   5.      Defendant   Defendant is a good Joint Exhibit Part Disputed.                            (1)(A) Defendant’s
                             driver.               B at 118:23-28     (1) Defendant is not a good        friend has unreliable
                                                   (Dep of Def.’s     driver. Defendant drove the        memory. Joint Exhibit
    12                                             Mother).           wrong way on a one-way road        Part C at 202:2-9 (Decl.
                                                                      as recently as a year ago. Joint   of Def.’s Friend).
                                                                      Exhibit Part C at 204:4-25         (1)(B) Defendant has
    13                                                                (Decl. of Def.’s Friend).          no moving violations
                                                                      (2) F.R.E. 602, 701: The           on her official driving
    14                                                                supporting evidence is             record. Joint Exhibit
                                                                      inadmissible because the           Part B at 179 (DMV
                                                                      Defendant’s mother lacks           record).
    15                                                                personal knowledge of              (2)While Defendant’s
                                                                      Defendant’s driving. She has       mother has not seen her
                                                                      not seen Defendant drive in        drive in two years, she
    16                                                                two years. Joint Exhibit Part B    remembers Defendant’s
                                                                      at 117:10-12 (Dep. of Def.’s       driving abilities. Joint
                                                                      Mother).                           Exhibit Part B at 116:15
    17                                                                (3)This statement is not a fact;   (Dep. of Def.’s Mother)
                                                                      it is an opinion.
    18   ...     ...         ...                   ...                ...                                ...

    19
    20           As demonstrated in the illustration above, the Joint Statement shall include the
    21   following columns:
    22         • The first column shall contain the number of the fact alleged to be
    23           undisputed. Separate parties shall not restart the numbering for their facts.
    24         • The second column shall name the party proposing the statement of fact (the
    25           “Proponent”).
    26         • The third column shall contain a plain statement of the fact. Facts shall not
    27           be compound. For instance, if the opposing party (the “Opponent”) could
    28           respond by asserting that the fact is disputed only in part, then the fact is


                                                                −9−
Case 2:23-cv-08583-JWH-RAO Document 16 Filed 10/18/23 Page 10 of 17 Page ID #:122
    1            compound. By meeting and conferring, the Court expects the parties to

    2            resolve any instances where compound facts are “disputed in part” by

    3            separating the elements that are disputed from those that are not. Those

    4            elements will form into new, more granular factual statements. Neither legal

    5            arguments nor conclusions constitute facts.

    6          • The fourth column shall contain a citation to admissible evidence that the

    7            Proponent believes supports the proffered fact. If any party fails to provide a

    8            pin cite to the supporting evidence, then the Court will deem the proffered

    9            fact (or dispute) unsupported. See generally Christian Legal Soc. v. Wu, 626

    10           F.3d 483, 488 (9th Cir. 2010) (“Judges are not like pigs, hunting for truffles

    11           buried in briefs.” (quoting Greenwood v. FAA, 28 F.3d 971, 977 (9th Cir.

    12           1994) (quoting United States v. Dunkel, 927 F.2d 955, 956 (7th Cir. 1991)

    13           (per curiam)) (alteration omitted))). As a rule of thumb, pin citations should

    14           refer to no more than five pages at a time.

    15         • The fifth column shall first identify whether the proffered statement of fact

    16           is disputed or not. The entry must begin with either the word “Disputed”

    17           or “Undisputed.” and include the period.4 If the fact is disputed, then the

    18           Opponent must concisely (1) identify counter-evidence that contradicts or

    19           otherwise disputes the statement of fact, with a brief explanation (a

    20           "factual objection"); (2) make an evidentiary objection grounded in the

    21           Federal Rules of Evidence; or (3) make an objection explaining why the

    22           factual statement does not comport with this Standing Order or other

    23   \\\

    24   \\\

    25   \\\

    26   ____________________
         4     Adding commas, spaces, additional periods, or other extraneous punctuation
    27
         can interfere with Excel’s ability to sort columns. The Court strongly advises
    28   parties to double-check their work before lodging it with the Court.


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Case 2:23-cv-08583-JWH-RAO Document 16 Filed 10/18/23 Page 11 of 17 Page ID #:123
    1         orders from the Court.5 Counter-evidence must include a pin cite to the

    2         record (i.e., a page number and, when available, a line or paragraph

    3         number). If a party attempts to dispute a fact but fails to offer any

    4         counter-evidence, or only offers counter-evidence that falls short of

    5         contradicting the proffered fact, then the Court will deem the fact undisputed

    6         for the purposes of the motion. See Fed. R. Civ. P. 56(e)(2), L.R. 56-3.

    7         Additionally, any evidentiary objection must cite a specific rule and provide

    8         a short rationale or explanation. The Court will disregard “boilerplate

    9         recitations of evidentiary principles or blanket objections without analysis

    10        applied to specific items of evidence.” Doe v. Starbucks, Inc., 2009

    11        WL 5183773, at *1 (C.D. Cal. Dec. 18, 2009); Amaretto Ranch

    12        Breedables v. Ozimals Inc., 907 F. Supp. 2d 1080, 1081 (N.D. Cal. 2012)

    13        (“This Court need not address boilerplate evidentiary objections that the

    14        parties themselves deem unworthy of development.”). For example, simply

    15        asserting that evidence is irrelevant or otherwise lacks foundation−without

    16        any specific and tailored explanation why−will not constitute a proper

    17        evidentiary objection. See Communities Actively Living Indep. &

    18        Free v. City of Los Angeles, 2011 WL 4595993, at *8(C.D. Cal. Feb. 10,

    19        2011) (summarily overruling boilerplate evidentiary objections when

    20        the grounds for the objections were unduly vague and overbroad).

    21        If the Opponent has multiple objections, then the Opponent should number

    22        them (1), (2), (3), and so on.

    23
    24   ____________________
         5     If one party is routinely forced to make objections grounded in the other
    25
         party’s failure to follow instructions (e.g., the Proponent’s factual statement is
    26   compound, fails to include a proper citation, or constitutes a statement of legal
         opinion rather than fact), then the parties are not, in all likelihood, ready to submit
    27   the Joint Statement to the Court. The Court will also factor the offending party’s
         conduct into any award of attorneys’ fees and costs, to the extent that such an
    28   award is within the Court’s discretion.


                                                −11−
Case 2:23-cv-08583-JWH-RAO Document 16 Filed 10/18/23 Page 12 of 17 Page ID #:124
    1        • In the final column, the Proponent may reply to any objections made by the

    2          Opponent. A reply is not strictly necessary. The Court will treat any fact as

    3          disputed only when (1) the Opponent objects as such; (2) the Court deems

    4          the counter-evidence admissible or the evidentiary objection credible; and

    5          (3) the Proponent offers no reply. If the Proponent chooses to respond, then

    6          the Proponent must also (a) identify evidence that rehabilitates its statement

    7          of fact or undermines the Opponent’s counterevidence; (b) make an

    8          evidentiary objection to the counterevidence, citing the specific evidentiary

    9          rule and providing a rationale; or (c) explain why the Opponent’s objection is

    10         erroneous. Any further citations to the record must, again, include a pin cite.

    11         If the Opponent makes multiple objections (factual, evidentiary, or

    12         otherwise), then the Proponent should reference the same number when

    13         providing a reply. If the Proponent has multiple replies to any given

    14         objection, then the Proponent should list them as (A), (B), (C), and so on.6

    15   Parties should use Microsoft Excel for the Joint Statement.7 The moving party (or

    16   parties) must transmit the Excel version of the Joint Statement by email to

    17   JWH_Chambers@cacd.uscourts.gov at the time that they file their motion and

    18   must also lodge a PDF version of the Joint Statement on the docket.

    19         15. Ex Parte Applications. Ex parte applications are considered on the

    20   papers, and applicants need not set them for hearing. Counsel are advised that this

    21   Court allows ex parte applications solely for extraordinary relief. Sanctions may be

    22   imposed for the misuse of ex parte applications. See In re Intermagnetics Am., Inc.,

    23   101 B.R. 191 (Bankr. C.D. Cal. 1989). Counsel also should become familiar with

    24   Mission Power Engineering Co. v. Continental Casualty Co., 883 F. Supp. 488

    25
         ____________________
    26
         6     See item No. 5 in the illustrative table on page 9 above for an example.
         7     When using Microsoft Excel, parties should not merge cells; they should use
    27
         the alt enter function to create paragraph breaks within a single cell. The parties
    28   may stipulate to using a different program, so long as it facilitates legibility.


                                                −12−
Case 2:23-cv-08583-JWH-RAO Document 16 Filed 10/18/23 Page 13 of 17 Page ID #:125
    1    (C.D. Cal. 1995), regarding ex parte applications.

    2         The Court directs Counsel’s attention to L.R. 7-19. The moving party’s

    3    declaration in support of an ex parte application shall show compliance with

    4    L.R. 7-19 and this Order, and it shall include a statement of opposing counsel’s

    5    position. Failure to do so ensures the application will be DENIED. The other

    6    parties’ opposition, or notice of non-opposition (which notice may be provided

    7    telephonically to the Courtroom Deputy Clerk (714-338-4736)), to an ex parte

    8    application is due 24 hours−not the next court day−after the other parties’

    9    receipt of the ex parte application. In view of that 24-hour deadline for opposition

    10   papers, in the absence of a true emergency, the Court takes a dim view of

    11   applicants who file their ex parte applications on Fridays or on the day before a

    12   court holiday. As with all motion papers, counsel must deliver a Mandatory

    13   Chambers Copy in accordance with Paragraph 6 above. Counsel will be notified

    14   of the Court’s ruling, or of a hearing time and date if the Court determines that a

    15   hearing is necessary.

    16        16. Stipulations. Stipulations extending scheduling dates set by this

    17   Court are not effective unless and until approved by the Court. Continuances will

    18   be granted only upon a showing of good cause. The assertion that the parties have

    19   not concluded their discovery efforts does not constitute “good cause” to extend

    20   the case schedule. The assertion that the parties are not ready for trial does not

    21   constitute “good cause.” The assertion that counsel has a crowded trial

    22   schedule−without significantly more detail and explanation−does not constitute

    23   “good cause.”

    24        17. Communication with Chambers. Unless requested to do so, counsel

    25   shall not attempt to contact the Court or its staff by telephone or by any other

    26   ex parte means. Counsel are directed to review the Central District’s website

    27   at www.cacd.uscourts.gov for the Local Rules, filing procedures, judges’

    28   procedures and schedules, calendars, forms, and Pacer access. Counsel may


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Case 2:23-cv-08583-JWH-RAO Document 16 Filed 10/18/23 Page 14 of 17 Page ID #:126
    1    contact the Courtroom Deputy Clerk, Clarissa Lara, by telephone at 714-338-4736

    2    or by email at Clarissa_Lara@cacd.uscourts.gov only in the event that counsel

    3    cannot find the desired information through all available resources.

    4         18. Telephonic and Video Appearances. The Court does not conduct

    5    telephonic or video hearings. All appearances will be made in person in

    6    Courtroom 9D of the United States District Court for the Central District of

    7    California, located at 411 W. 4th Street, Santa Ana, California.

    8         19. Bench Trials: Findings and Conclusions. When parties file proposed

    9    findings of fact and conclusions of law pursuant to Rule 52 and L.R. 52-1 & 52-3,

    10   the proposed findings and proposed conclusions shall be consecutively numbered.

    11   If, for example, the proposed findings end at paragraph 26, then the first proposed

    12   conclusion shall begin with paragraph 27.

    13           IT IS SO ORDERED.

    14
    15   Dated: October 18, 2023
    16
                                                  John W. Holcomb
    17                                            UNITED STATES DISTRICT JUDGE

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Case 2:23-cv-08583-JWH-RAO Document 16 Filed 10/18/23 Page 15 of 17 Page ID #:127
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Case 2:23-cv-08583-JWH-RAO Document 16 Filed 10/18/23 Page 16 of 17 Page ID #:128




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Case 2:23-cv-08583-JWH-RAO Document 16 Filed 10/18/23 Page 17 of 17 Page ID #:129




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